
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________

          No. 96-1152

                       VALENTINO T. COLASANTO, TRUSTEE OF THE 
                         ROBERT M. COLASANTO REVOCABLE TRUST,

                                Plaintiff, Appellant,

                                          v.

                       LIFE INSURANCE COMPANY OF NORTH AMERICA,

                                 Defendant, Appellee,

                                          v.

                                  STEPHEN A. FARLEY,

                           Third-Party Defendant, Appellee.
                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND

                     [Hon. Ernest C. Torres, U.S. District Judge]
                                             ___________________
                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                          and Boyle,* Senior District Judge.
                                      _____________________

                              _________________________

               Katherine A. Merolla, with whom Amedeo C. Merolla and Pucci,
               ____________________            _________________     ______
          Goldin &amp; Merolla were on brief, for appellant.
          ________________
               William B.  VanLonkhuyzen, with  whom Norman S.  Zalkind and
               _________________________             __________________
          Zalkind,  Rodriguez, Lunt &amp;  Duncan were  on brief,  for appellee
          ___________________________________
          Stephen A. Farley.
                              _________________________

                                  November 15, 1996
                               ________________________

          _________________
          *Of the District of Rhode Island, sitting by designation.















                    SELYA, Circuit  Judge.  This appeal  summons our review
                    SELYA, Circuit  Judge.
                           ______________

          of a jury verdict that awarded certain life insurance proceeds to

          the  decedent's quondam companion rather than  to a family trust.

          Upon close perscrutation  of the record, the parties' briefs, and

          the applicable law, we discern no error.

          I.  BACKGROUND
          I.  BACKGROUND

                    We  start with a neutral account of the facts that were

          before the jury.   The  decedent, Robert M.  Colasanto, made  his

          mark as a successful  business executive.  In September  of 1982,

          Colasanto met Stephen  A. Farley.   A relationship developed  and

          the  two men  began cohabiting  in San  Diego, California.   They

          lived initially in  a rented  dwelling and later  in a  luxurious

          home that Colasanto  purchased.  During this time frame Colasanto

          founded a  health-care organization, Community Care Network, Inc.

          (CCN),  which became  hugely successful.   Colasanto  enjoyed the

          fruits of his  good fortune including,  inter alia, a  beneficial
                                                  _____ ____

          interest under a  group life  insurance policy owned  by CCN  and

          issued by  Life Insurance Company  of North America  (LINA) which

          afforded him a $140,000 death benefit.

                    Colasanto's  world  changed in  1989  when a  physician

          diagnosed  him as HIV-positive.  By 1992, he had contracted AIDS.

          Yearning  for his  native  New  England,  he  bought  a  home  in

          Massachusetts.  Colasanto and Farley  took up residence there  in

          the spring of 1993.

                    As   Colasanto's  health  deteriorated,  so,  too,  his

          relationship with  Farley.    The  two  men  began  discussing  a


                                          2














          property  settlement  in mid-1993.    Despite  the assistance  of

          retained  counsel, they were unable to agree on terms.  According

          to Farley, however, the parties reached an informal  agreement on

          or about December 3,  1993.  Under that accord,  Colasanto was to

          transfer ownership of five life insurance policies (including the

          LINA group life policy) to Farley.

                    On December 10, Colasanto completed and executed a form

          entitled "Application  for Conversion  of Group or  Employee Life

          Insurance"  (the conversion  application) with  the intention  of

          converting his  coverage under the group policy  to an individual

          policy.   Line  10(c)  of the  conversion  application bears  the

          inscription  "Pay  Death Benefit  to,"  followed  by three  blank

          lines.    Underneath  the  first blank  line  these  instructions

          appear:  "Print Full Name of Beneficiary and State Relationship."

          On  the left-hand side of  this line Colasanto  typed "Stephen A.

          Farley."  He left a blank space  in the middle of the line and on

          the right-hand side he  typed "Executor."1  On the  following two

          lines Colasanto  added "Issue  policy with  Mr. Farley  as owner.

          See  enclosed letter."  The  letter, signed by  Colasanto, bore a

          caption indicating that it was being transmitted "RE:  CONVERSION

          OF GROUP COVERAGE TO INDIVIDUAL COVERAGE   SPECIFICATION OF OWNER

          OF INDIVIDUAL POLICY  WHICH IS ISSUED."   The body of the  letter

          made explicit reference to  the conversion application and stated
                              
          ____________________

               1The parties  agree that  on December 10,  1993, Colasanto's
          will nominated Farley as his executor.  Colasanto made a new will
          before he  died.  Farley was  not named as executor  then and was
          not  appointed executor  of  Colasanto's estate  upon Colasanto's
          demise.

                                          3














          in relevant part:

                         Please  note that  I am  requesting that
                    the individual policy be issued such that the
                    owner is as follows:
                    Stephen A. Farley
                    10448 Russel Road
                    La Mesa, CA 91941 D.O.B. 2-21-49

                         Mr. Farley is currently  the beneficiary
                    of the group coverage.   If he needs to  fill
                    out another beneficiary form, please  send it
                    to him since  that will be  his right as  the
                    policy owner.

                         The premium statement(s) should  be sent
                    to Mr. Farley at the above address.

                    Colasanto  transmitted  the conversion  application and

          letter  to LINA.   He sent forms  and letters to  four other life

          insurers on the same date.  Each letter instructed the carrier to

          transfer ownership of the  affected policy to Farley.  In each of

          the  five instances Colasanto  contemporaneously furnished Farley

          with signed  copies of  the conversion application  or assignment

          form,  the  cover letter,  and  a certified  mail  return receipt

          request  in Colasanto's  handwriting asking  that the  receipt be

          forwarded to Farley.2

                    Farley  returned  to California  on  December  22.   On

          January 19, 1994, Colasanto sent a premium payment to LINA on the

          policy  in question and accompanied it  with a letter reiterating

          "that the individual policy should be issued to Stephen A. Farley

          as owner."   Colasanto added:  "If a separate form is required to

          change  owner,  then  please  send  the  form.    Future  premium
                              
          ____________________

               2Upon  Colasanto's death,  Farley  apparently collected  the
          proceeds of the  other four  policies without incident.   In  any
          event, none of those policies are implicated here.

                                          4














          statements should be sent to Mr. Farley as owner."  LINA sent the

          individual policy to Colasanto in  early February together with a

          letter admonishing  that if Colasanto wished  to designate Farley

          as owner, he should  execute an assignment form and  return it to

          LINA.  Despite the fact that LINA enclosed a blank form with this

          letter, Colasanto never signed it.

                    Later that month, Farley  returned to Massachusetts.  A

          reconciliation ensued.3   Colasanto  repaired to  California with

          Farley, only to return to  Massachusetts alone following a bitter

          quarrel  that  took place  on  March  7, 1994.    The next  month

          Colasanto  executed  a  change-of-beneficiary  form  in which  he

          purported  to  designate  one   of  his  brothers,  Valentino  T.

          Colasanto,  in his capacity as Trustee of the Robert M. Colasanto

          Revocable  Trust,   as  the  beneficiary  of   the  LINA  policy.

          Colasanto died on June 17, 1994.

                    Both Farley and  the Trustee laid  claim to the  policy

          proceeds.   The Trustee won the  race to the courthouse steps and

          filed suit  against LINA  in a  Rhode Island state  court.   LINA

          removed the case  to federal  district court, 28  U.S.C.    1441,

          citing the existence of original jurisdiction arising out of both

          diversity  and  interpleader, see  28  U.S.C.     1332(a),  1335,
                                        ___

          impleaded  Farley, and  deposited the  face value  of  the policy

          ($140,000)  into  the  registry  of  the  district  court.    See
                                                                        ___
                              
          ____________________

               3During  this  period Farley  took  possession  of both  the
          subject  policy  and  the blank  assignment  form.   The  parties
          disagree about  how this occurred.   The appellant  contends that
          Farley filched the papers; Farley claims that Colasanto gave them
          to him.

                                          5














          generally   Fed.  R.   Civ.  P.   22  (discussing   mechanics  of
          _________

          interpleader actions).

                    LINA's  departure from  the  fray left  Farley and  the

          Trustee locked in mortal combat.  After considerable skirmishing,

          the case  was tried and the  jury returned a verdict  in Farley's

          favor.    The  district  court thereafter  denied  the  Trustee's

          motions under Fed. R. Civ. P. 50(b) (judgment as a matter of law)

          and Fed. R. Civ. P. 59(a) (new trial).  This appeal followed.

                    The Trustee  presses several  points in support  of his

          position.    We have  considered them  all,  but address  in this

          opinion only those contentions that  have arguable merit and that

          are necessary to a resolution of this appeal.

          II.  OWNERSHIP OF THE POLICY
          II.  OWNERSHIP OF THE POLICY

                    The appellant's  flagship claim  is that no  reasonable

          juror could conclude that  Colasanto transferred ownership of the

          subject policy to  Farley, and the  lower court therefore  should

          have granted  the motion for judgment  as a matter of  law.4  The

          standard  of review referable to a trial court's refusal to order

          judgment  as a  matter of  law is  set in cement.   The  court of

          appeals  undertakes  plenary  review,   see  Gibson  v.  City  of
                                                  ___  ______      ________

          Cranston, 37 F.3d 731,  735 (1st Cir. 1994), and  "examine[s] the
          ________

          evidence  and the inferences reasonably  to be drawn therefrom in

          the light most favorable to  the nonmovant," Wagenmann v.  Adams,
                                                       _________     _____
                              
          ____________________

               4Transfer  of  ownership  is  a  critical  datum  since,  if
          Colasanto remained the  owner of  the policy on  April 21,  1994,
          then his  execution and delivery of  a change-of-beneficiary form
          on that date would  have been effective, and the  policy proceeds
          would be payable to the successor beneficiary (the Trustee).

                                          6














          829 F.2d 196, 200  (1st Cir. 1987).   In so doing the court  "may

          not  consider  credibility  of witnesses,  resolve  conflicts  in

          testimony,  or  evaluate  the  weight  of  the  evidence."    Id.
                                                                        ___

          Overriding a jury verdict  is warranted only if the  evidence "is

          so one-sided that the movant is plainly entitled to judgment, for

          reasonable minds could not differ as to the outcome."  Gibson, 37
                                                                 ______

          F.3d at 735.

                                          A
                                          A

                    The gist  of the Trustee's argument  is that Colasanto,

          although taking  an initial  step  to transfer  ownership of  the

          policy to Farley, never effectuated  that change according to the

          terms of the policy.   Thus, no  reasonable jury could find  that

          Colasanto  substantially  complied   with  the  explicit   policy

          requirements necessary to anoint Farley as the owner.

                    This argument misses the mark.  It is predicated on the

          common law doctrine of substantial compliance.  The parties agree

          that   the   substantive  law   of  Massachusetts   governs  this

          controversy,  and, according to  the appellant, the Massachusetts

          cases suggest that,  if a  policy specifies the  manner in  which

          transfers  are to be made, the failure of literal compliance with

          the policy requirements will  be excused only if the  insured did

          everything  that he  could do  to comply  with  those provisions.

          See, e.g., Acacia Mut. Life Ins. Co. v. Feinberg, 318 Mass.  246,
          ___  ____  _________________________    ________

          250,  61  N.E.2d 122,  124 (1945)  (stating  that "it  is  of the

          essence of substantial compliance that the insured must have done

          all  in his  power  to  effect  the  change,  leaving  only  some


                                          7














          ministerial  act  on  the  part  of  the  insurer  necessary   to

          consummate it"); Resnek v.  Mutual Life Ins. Co., 286  Mass. 305,
                           ______     ____________________

          309, 190 N.E. 603, 604-05 (1934) (similar).

                    Building  on  this  base,  the appellant  points  to  a

          provision in the LINA policy that states:  "Changes [of ownership

          or  beneficiary]  must  be   requested  in  writing  on  a   form

          satisfactory  to  us  and  sent to  our  Administrative  Office."

          Because this condition could have been,  but was not, met   after

          all, the carrier sent  Colasanto a blank assignment form,  and he

          easily could have completed it and mailed it back   the appellant

          insists  that there  was no  substantial compliance,  and, hence,

          that  the attempted change of ownership was ineffectual.  See id.
                                                                    ___ ___

          at  309-10 (indicating that if the insured  is put on notice that

          he has  not done all in his power to comply with the requirements

          for changing a beneficiary,  as by the insurer's rejection  of an

          improperly  completed  form, and  the insured  does not  take the

          suggested remedial action,  there is no substantial  compliance).

          Even though  Colasanto explicitly  designated Farley as  owner on

          the conversion  application, reaffirmed that  designation in  the

          cover  letter, and  wrote a  subsequent epistle  reiterating that

          Farley owned the policy,  the appellant asseverates that Farley's

          claim of ownership fails  because Colasanto never transmitted the

          assignment form to LINA.  The appellant then tries to hoist  this

          asseveration by its bootstraps, noting that LINA never recognized

          a transfer of  policy ownership  to Farley,  instead sending  the

          policy to Colasanto and accepting the change-of-beneficiary  form


                                          8














          that he subsequently submitted.

                    There  are  two visible  flaws  in  the fabric  of  the

          appellant's thesis.  In the first place, we do not think that the

          doctrine of substantial compliance  applies to this case.   It is

          generally  held  in  Massachusetts  that  the  provisions  of  an

          insurance policy which stipulate  what formalities must attend an

          assignment  are for  the  benefit of  the  insurer, not  for  the

          benefit of others.  See Abbruzise v. Sposata, 306 Mass. 151, 153-
                              ___ _________    _______

          54, 27 N.E.2d  722, 723-24  (1940); Goldman v.  Moses, 287  Mass.
                                              _______     _____

          393, 397, 191 N.E. 873, 874 (1934).  When, as now, the insurer is

          no longer a  combatant, and the  dispute over  the validity of  a

          transfer  is limited to the  assignor and the  assignee (or those

          claiming  under them),  the  assignor is  precluded from  relying

          mechanically on the formalities built  into the policy to  defeat

          the transfer.  See  Abbruzise, 306 Mass. at 153-54;  Goldman, 287
                         ___  _________                        _______

          Mass. at 397; Herman v. Connecticut Mut. Life Ins. Co., 218 Mass.
                        ______    ______________________________

          181, 185, 105 N.E. 450, 451 (1914); Merrill v. New Eng. Mut. Life
                                              _______    __________________

          Ins.  Co., 103  Mass.  245,  252 (1869).    In other  words,  the
          _________

          assignment, though not in compliance with the policy, nonetheless

          may be binding  as between the  assignor and assignee as  long as

          the evidence of the act and  the intent is sufficient to  confirm

          the assignment's validity.

                    The second flaw in the appellant's thesis is that, even

          if the substantial compliance  doctrine retains some relevance in

          a contest over life insurance proceeds between parties other than

          the insurer,  an argument  premised on substantial  compliance in


                                          9














          this  case  overlooks  the  obvious.    If  an  insurance  policy

          regulates  the form  of an  assignment and  the insured  complies

          literally  with those  terms,  the assignment  is valid,  and the
          _________

          question of substantial compliance is immaterial.

                    Here,  the policy provides  not one, but  two, means of

          changing  the ownership.    It stipulates:    "The Owner  ("you,"

          "your")  is  the  Insured  unless  otherwise  designated  in  the
                                     ______________________________________

          application or  unless changed  as provided under  the Change  of
          ___________

          Ownership or Beneficiary provision [i.e., by use of an assignment

          form]."    (Emphasis  supplied).    The  jacket  of  the   policy

          reiterates  this duality:    "The Owner  ("you,"  "your") is  the

          insured  unless another  person  is named  in the  application or
                                           _____________________________

          later becomes the  Owner as  allowed by the  policy."   (Emphasis

          supplied).  Thus, while Colasanto could have effected the desired

          change of ownership by  returning the assignment form to  LINA as

          instructed,  we see no reason why he  could not also have done so

          in  the application.  Since the policy appears explicitly to have
          ___________________

          given the  policyholder that option,  we think that  a reasonable

          jury could have decided the point on the basis that Colasanto had

          chosen this manner  of switching the policy's  ownership and that

          the resultant designation was valid and binding.

                    A group policy  and an individual  policy that is  spun

          off from it ordinarily are  deemed a single, continuing  contract

          of  insurance.  See Binkley  v. Manufacturers Life  Ins. Co., 471
                          ___ _______     ____________________________

          F.2d 889, 891  (10th Cir.),  cert. denied, 414  U.S. 877  (1973);
                                       _____ ______

          Brindis v. Mutual Life  Ins. Co., 29 Mass. App.  Ct. 368, 369-70,
          _______    _____________________


                                          10














          560  N.E.2d  722,  723  (1990).    Until  Colasanto  retired, his

          employer  owned the group policy.  There was no individual policy

          (and, hence,  no individual owner) until  Colasanto exercised his

          right of conversion.   In all  probability, then, the  conversion

          application  is an application  within the purview  of the quoted

          policy language    we hesitate  only because LINA is  not a party

          here, and  it cannot be heard  on the topic in  this proceeding  

          and  in any event,  the appellant concedes  that it is  such.  He

          maintains, however,  that the  application could  not be  used to

          dictate ownership  because there  was no line  or place on  it to

          spell out the nature of the change.

                    We reject  this argument.  An  insurance company cannot

          confer a prerogative upon the insured in the policy covenants and

          then surreptitiously take it away by omitting any reference to it

          on  the forms that the company prints to implement the covenants.

          Here, the policy told Colasanto that he could designate the owner

          of  a  converted   policy  by  naming  that  individual   in  the

          application, and  he did  so.   At the very  least, a  reasonable

          jury, faced with this concatenation of circumstances, had a right

          to  conclude  that  the  policy  allowed  Colasanto  to  use  the

          conversion application as a vehicle to bring about  the ownership

          arrangement that he preferred.  On that basis, the designation of

          ownership contained  in the  application complied  literally with

          the terms of the policy.

                                          B
                                          B

                    The appellant  advances a second  theory that  involves


                                          11














          substantial compliance.  He  asserts that, under Fed. R.  Civ. P.

          56(d),5 the  district court's  order denying his  pretrial motion

          for summary judgment  precluded presentation  of the  substantial

          compliance issue at trial.  The court's order stated:

                    Although  there does  not  appear to  be  any
                    _____________________________________________
                    dispute  that Robert  M. Colasanto  failed to
                    _____________________________________________
                    execute and deliver  the documents  necessary
                    _____________________________________________
                    to  transfer  ownership  of  the   policy  in
                    _____________________________________________
                    question   to  Stephen  Farley,  there  is  a
                    ______________________________
                    genuine  issue  of  fact   regarding  whether
                    Robert Colasanto ever agreed to  make Stephen
                    Farley  an   irrevocable  beneficiary  and/or
                    owner  of such  policy  and whether  adequate
                    consideration   was   given   for  any   such
                    agreement.

          (Emphasis supplied).

                    The  appellant interprets  the underscored  language as

          establishing   as  a  matter  of   law  that  Colasanto  had  not

          substantially complied  with  the requirements  for  transferring

          ownership of the policy to Farley.
                              
          ____________________

               5The rule provides in pertinent part:

                    If on motion under  this rule judgment is not
                    rendered upon  the whole case or  for all the
                    relief asked  and a  trial is  necessary, the
                    court  at  the  hearing  of  the  motion,  by
                    examining  the  pleadings  and  the  evidence
                    before it and by interrogating counsel, shall
                    if practicable ascertain what  material facts
                    exist  without  substantial  controversy  and
                    what material facts are actually and  in good
                    faith  controverted.  It shall thereupon make
                    an  order specifying  the  facts that  appear
                    without substantial  controversy  . .  .  and
                    directing  such  further  proceedings in  the
                    action as  are just.   Upon the trial  of the
                    action the facts so specified shall be deemed
                    established, and the trial shall be conducted
                    accordingly.

          Fed. R. Civ. P. 56(d).

                                          12














                    The  appellant's  contention is  vulnerable  on several

          grounds.    We  mention  two  of  them.    First,  the  issue  of

          substantial  compliance  is  a  red  herring,  as  LINA   is  not

          challenging  Farley's status  and the  case turns,  in  the final

          analysis, on Colasanto's discerned intent.  See supra Part II(A).
                                                      ___ _____

          Second,   the   Rule  56(d)   approach   is   little  more   than

          stultification by tactical semantics.  We explain briefly.

                    Although the  appellant is correct in  noting that Rule

          56(d) empowers a  court to specify  (and set to  one side)  facts

          that are without  substantial controversy, the rule  nevertheless

          "permits  the court  to retain  full power  to make  one complete

          adjudication  on all  aspects of  the case  when the  proper time

          arrives."  10A Charles  Alan Wright et al., Federal  Practice and

          Procedure    2737 (2d  ed. 1983).   Here,  it is  disingenuous to

          suggest that the court relinquished this power.  Fairly read, the

          underscored language simply acknowledges  the lack of any dispute

          as to whether the  assignment form was executed and  delivered to

          LINA.  To say, as the appellant would have it, that the statement

          decides  the compliance question as a matter of law would require

          us  both to torture the  district court's words  and overlook its

          manifest intention.  We refuse to do so.

          III.  THE BENEFICIARY DESIGNATION
          III.  THE BENEFICIARY DESIGNATION

                    The  appellant's fallback  position  is  that, even  if

          Colasanto transferred ownership of the policy to Farley, it still

          must  be found as a matter of  law that Farley, as an individual,

          is  not entitled to the policy proceeds.  This reasoning rests on


                                          13














          line 10(c) of the conversion application, which solicits the full

          name of the beneficiary and the beneficiary's relationship to the

          insured.  In response  Colasanto typed:  "Stephen Farley         

          Executor."    The  appellant posits  that  the  use  of the  word

          "executor"  in  this  context   designates  a  fiduciary  as  the

          beneficiary and,  therefore, Colasanto's executor    not Farley  

          is entitled to the avails of the policy.

                    The principal  authority on which the  appellant relies

          is  Faircloth v. Northwestern Nat'l  Life Ins. Co.,  799 F. Supp.
              _________    _________________________________

          815 (S.D. Ohio 1992).  In Faircloth, the insured wrote "Faircloth
                                    _________

          James H. Administrator" on the line in the application that asked

          for the name of the beneficiary.  The court ruled  as a matter of

          law that the policy  proceeds went to the named beneficiary to be

          administered for  the benefit of the estate, and not to him as an

          individual.   See id. at  817.  The  appellant reads Faircloth to
                        ___ ___                                _________

          stand  for  the proposition  that whenever  a fiduciary  label is

          found in close proximity to a beneficiary's name, the beneficiary

          designation must be construed as running to the actual fiduciary,

          not  to the  individual  named.   If  Faircloth stands  for  this
                                                _________

          proposition    a matter on which we take no view   it contradicts

          basic  tenets of  Massachusetts contract  interpretation,  and we

          must therefore disregard it.

                    Massachusetts law holds that, if an ambiguity exists in

          contract documents, its  ultimate resolution almost always  turns

          on  the parties'  intent.   See Smart  v. Gillette  Co. Long-Term
                                      ___ _____     _______________________

          Disability  Plan, 70 F.3d 173, 178 (1st Cir. 1995); Massachusetts
          ________________                                    _____________


                                          14














          Mun. Wholesale Elec. Co.  v. Town of  Danvers, 411 Mass. 39,  45,
          ________________________     ________________

          577   N.E.2d 283, 288 (1991).  In such a situation, the intent of

          the  contracting parties  is  a matter  to  be discerned  by  the

          factfinder  from the circumstances  surrounding the ambiguity and

          from  such reasonable inferences as may be available.  See Smart,
                                                                 ___ _____

          70 F.3d at 178.

                    These rules  apply to  insurance documents in  the same

          way  as they apply in  other contractual settings.   See Falmouth
                                                               ___ ________

          Nat'l Bank v. Ticor Tile Ins.  Co., 920 F.2d 1058, 1061 (1st Cir.
          __________    ____________________

          1990) (applying Massachusetts law).   For instance, two analogous

          Massachusetts cases indicate that,  when the insured, called upon

          by  the   insurer  to  designate   a  beneficiary  by   name  and

          relationship,  complies  by  using  a descriptive  term  such  as

          "wife,"  it  is up  to the  factfinder  to determine  whether the

          insured   meant  the   particular  person   named,  or,   in  the

          alternative,  a person fitting the description on the date of the

          insured's death.   See,  e.g., Strachan v.  Prudential Life  Ins.
                             ___   ____  ________     _____________________

          Co., 321  Mass. 507,  509, 73  N.E.2d 840, 843  (1947); Brogi  v.
          ___                                                     _____

          Brogi, 211 Mass. 512, 514, 98 N.E. 573, 573 (1912).6
          _____

                    Of  course,  it  can  be argued  that  the  appellation

          "executor" is more "legalistic" than the term "wife,"  and merits

          different treatment.   We agree that the beneficiary's burden may

          be  heavier when a fiduciary  designation is in  play, but, here,

                              
          ____________________

               6Interestingly,  both  cases   determined  that  the   named
          individual  should  take,  though  neither of  them  was  legally
          married to  the insured at the  time of the latter's  death.  See
                                                                        ___
          Strachan, 321 Mass. at 511; Brogi, 211 Mass. at 514.
          ________                    _____

                                          15














          the end result is the same.

                    In  general,  courts construe  beneficiary designations

          made in connection with insurance policies according to the rules

          applicable  to the construction of wills.  See 5 George J. Couch,
                                                     ___

          Cyclopedia of Insurance Law   28:7  (2d ed. 1984).  "The cardinal

          rule in the interpretation of a will is the  ascertainment of the

          testator's intent from an examination of the language employed by

          him construed in  the light of the circumstances known  to him at

          the time he executed  the will, and his intent,  when determined,

          must  be given  effect  unless contrary  to  some rule  of  law."

          Magill v. Magill,  317 Mass. 89, 92,  56 N.E.2d 892, 894  (1944).
          ______    ______

          Thus,  a  testamentary  gift  will  vest  in  a  beneficiary  qua
                                                                        ___

          fiduciary absent  a plain manifestation of  the testator's intent

          to  accomplish a  different  result.   See  Slavik v.  Estate  of
                                                 ___  ______     __________

          Slavik, 46  Ark. App.  74, 76,  880  S.W.2d 524,  526 (1994)  (en
          ______

          banc); Baker  v. Wright,  257 Ala.  697, 703,  60 So.2d  825, 830
                 _____     ______

          (1952).   However,  merely inserting  the  word "executor"  in  a

          change  of beneficiary  form  that requests  the policyholder  to

          state  the  relationship  between  the  beneficiary  and  himself

          presents presumptively  a materially weaker case  for holding the

          gift to be taken in a fiduciary capacity than leaving property by

          will to  a donee who  is a fiduciary and  is so described  in the

          dispositive clause.  See Slavik, 46 Ark. App. at 76.  In sum, the
                               ___ ______

          naked fact  that the beneficiary's relationship to the insured is

          designated  in  the  policy  documents  by a  legal  term  (e.g.,

          "executor") does not compel a finding of a fiduciary disposition;


                                          16














          the  matter still  comes down  to a  question of  the declarant's

          intent.

                    Applying the principles  gleaned from  these cases,  we

          descry  no  error  here.    It  is  plain  as  a  pikestaff  that

          Colasanto's  use of the word "executor" in response to line 10(c)

          creates an  ambiguity.  Given the suggestive spacing that appears

          on  the  completed  form  and  the delicate  nature  of  Farley's

          relationship  to Colasanto   a relationship that, in a homophobic

          society, he might wish to describe with some tact    the response

          can  plausibly be  construed  as  using  the  word  in  a  purely

          descriptive sense.  To  be sure, it can be argued  that Colasanto

          used the word  to indicate the legal status  of the beneficiary  

          but  this possibility means no more than  that the word, taken in

          context, is ambiguous.  See Fashion House, Inc.  v. K mart Corp.,
                                  ___ ___________________     ____________

          892  F.2d  1076,  1083 (1st  Cir.  1989)  ("Contract  language is

          usually  considered  ambiguous .  . .  where the  phraseology can

          support reasonable difference of opinion as to the meaning of the

          words  employed  and  obligations  undertaken.").   Because  such

          ambiguities must  be resolved according to  the insured's intent,

          it  follows  that  the  district court  properly  submitted  this

          question to the jury.

                    Taking the next step, the jury's finding that Colasanto

          intended the term "executor" to describe Farley as an individual,

          not  as a fiduciary, is amply supported.   Since Farley was named

          as  the  executor of  Colasanto's  estate at  the  time Colasanto

          completed   the  conversion  application,   the  description  was


                                          17














          accurate.  Here, moreover,  Colasanto originally had named Farley

          as the beneficiary of the  group life policy.  While it  is true,

          as  the appellant  suggests,  that a  term  such as  "friend"  or

          "companion"  might  have   described  Farley's  relationship   to

          Colasanto  more fittingly, that  is the stuff  of jury arguments,

          not of  appellate review    and  the jury had  a right  to assess

          Colasanto's word choice with  knowledge that emotionally  charged

          phrases may have  been painful to contemplate because  a ten-year

          relationship was on the rocks.  Finally, it is telling (or so the

          jurors could have thought) that Colasanto never once referred  to

          Farley  as a  fiduciary or  in a  fiduciary status  in subsequent

          correspondence or conversations anent the policy.

                    We need not paint the lily.  On this scumbled record, a

          rational jury could have inferred    as this jury did    that the

          word  "executor"  was  meant  only  to  describe  the  particular

          individual whom the insured  intended to name as  the beneficiary

          of the  policy, and not  to portend a  disposition to  Farley qua
                                                                        ___

          fiduciary.

          IV.  THE MOTION FOR A NEW TRIAL
          IV.  THE MOTION FOR A NEW TRIAL

                    The appellant  tells us that  the trial court  erred in

          denying his motion for a new  trial.  Appellate review of  orders

          refusing new trials is tightly circumscribed.  We ordinarily will

          not disturb such a  ruling if a  reasonable basis exists for  the

          jury's  verdict.   See Wagenmann,  829 F.2d  at 200-01.   Phrased
                             ___ _________

          another way, we will  not intervene unless we ascertain  that the

          outcome  is "against the clear  weight of the  evidence such that


                                          18














          upholding the  verdict will result in a  miscarriage of justice."

          Putnam Resources v. Pateman,  958 F.2d 448, 459 (1st  Cir. 1992).
          ________________    _______

          This is not such a case.

                    We need not tarry.   The motion for a  new trial hinged

          largely  on the two issues  previously discussed    the change of

          ownership and the identity  of the beneficiary.  We  have already

          explained that the jury had enough evidence on these questions to

          support a  verdict in Farley's  favor.   See supra Parts  II(A) &amp;
                                                   ___ _____

          III.  We add here only that,  on both issues, the totality of the

          evidence does not suggest either that justice miscarried or  that

          the  trial  court's  refusal   to  overturn  the  jury's  verdict

          constituted an  abuse of discretion.   Consequently, the district

          court did not  err in  denying the appellant's  new trial  motion

          under Fed. R. Civ. P. 59(a).  See Sanchez v. Puerto Rico Oil Co.,
                                        ___ _______    ___________________

          37 F.3d 712, 717 (1st Cir. 1994).

          V.  THE EVIDENTIARY QUESTION
          V.  THE EVIDENTIARY QUESTION

                    The appellant contends  that the trial court  blundered

          in refusing to admit into evidence portions of letters written by

          Colasanto  to Farley  on  March  17,  1994  and  April  1,  1994,

          respectively.  As a starting point, the appellant claims that the

          proffered statements were admissible  under Fed. R. Evid. 803(3).

          We do not agree.

                    Evidence  Rule   803(3)   removes  from   the   hearsay

          prohibition statements that  exhibit a declarant's "then-existing

          state of mind."  But, this exception is not to  be construed as a

          sweeping  endorsement  of  all  state-of-mind evidence.    To  be


                                          19














          admissible  under  this  exception, a  declaration,  among  other

          things, must  "mirror a state of mind, which, in light of all the

          circumstances, including proximity in time,  is reasonably likely

          to have been the  same condition existing at the  material time."

          2 John  W. Strong, McCormick  on Evidence    274 (4th  ed. 1992).

          Because disputes over  whether particular statements  come within

          the state-of-mind exception are  fact-sensitive, the trial  court

          is  in the best  position to resolve  them.  As is  true of other

          rulings  admitting or  excluding  evidence,  appellate review  is

          solely  for abuse of discretion.  See, e.g., Blinzler v. Marriott
                                            ___  ____  ________    ________

          Int'l., Inc., 81 F.3d 1148, 1158 (1st Cir. 1996).
          ____________

                    Here,   the  appellant   argues   that  the   proffered

          statements reflect  Colasanto's intent,  as early as  February of

          1994,  not to transfer the  converted policy to  Farley, and that

          they therefore rebut Farley's claim that Colasanto had a donative

          intent.  The  district court excluded  the correspondence on  the

          ground  that it did not relate to Colasanto's intent in February,

          but only to his intent at or about the time he wrote the letters.

          We detect no misuse of the court's wide discretion.

                    On Farley's  version of  the case, Colasanto  evinced a

          donative intent vis- -vis the LINA policy in December of 1993, in

          January 1994, and again in early February  of that year.  Between

          the last of  these incidents and the first  of the letters (which

          bore a date of March 17,  1994), a bitter fight between the long-

          time  companions  ensued.    That imbroglio,  for  all  practical

          purposes,  eradicated any  vestige  of an  amicable relationship.


                                          20














          Although  the  subsequent  letters  clearly  reflect  Colasanto's

          animosity  toward   Farley  on  March  17   and  thereafter,  the

          significant  intervening events     the quarrel  and the  ensuing

          breakup      could   reasonably   be  thought   to  disrupt   the

          contemporaneity required by Evidence Rule  803(3).  Thus, we  are

          unable to find that  the district court abused its  discretion by

          excluding the proffered state-of-mind evidence.

                    In  a last-ditch effort to stem the tide, the appellant

          argues, in  the alternative, that  the evidence was  proper under

          Fed.  R.  Evid.  804(b)(5).    That  catchall  rule  permits  the

          introduction  of hearsay evidence,  not otherwise  admissible, as

          long  as the  declarant  is unavailable,  the evidence  possesses

          "circumstantial  guarantees  of trustworthiness,"  and  the trial

          court finds that the evidence (i) is offered  to prove a material

          facet, (ii) is more  probative on the point than  other available

          evidence, and (iii) the interests of justice will be served.  See
                                                                        ___

          Fed.  R. Evid.  804(b)(5); see  also  United States  v. Panzardi-
                                     ___  ____  _____________     _________

          Lespier, 918  F.2d 313,  316 (1st  Cir. 1990).   A trial  court's
          _______

          determinations under  Evidence Rule 804(b)(5)  are reviewed under

          an abuse of discretion standard.  See Cook v. United  States, 904
                                            ___ ____    ______________

          F.2d 107, 111 (1st Cir. 1990).

                    The preconditions for deployment  of Rule 804(b)(5) are

          formidable,  and  the  appellant  cannot  satisfy  them  in  this

          instance.   For  example,  the  district  court  found  that  the

          statements lacked satisfactory assurances of trustworthiness.  In

          light  of  the  disputatious  course  of  events  that  had  been


                                          21














          unfolding for months, leading to the retention of counsel by both

          Farley  and Colasanto  and  then to  the  acrimonious quarrel  in

          California, we cannot fault  the district court's conclusion that

          the statements were  suspect because litigation  was in the  wind

          when they were made.7

          VI.  CONCLUSION
          VI.  CONCLUSION

                    We need go  no further.   For aught  that appears,  the

          case was fairly tried and the lower court appropriately permitted

          the jury's verdict to stand.



          Affirmed.
          Affirmed.
          ________


























                              
          ____________________

               7To emphasize the  point, we  note that the  April 1  letter
          shows on its face that Colasanto contemporaneously sent a copy to
          his attorney.

                                          22









